Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 1 of 31 Page ID #:1



 1   KRONENBERGER ROSENFELD, LLP
     Karl S. Kronenberger (Bar No. 226112)
 2
     karl@kr.law
 3   Jeffrey M. Rosenfeld (Bar No. 222187)
     jeff@kr.law
 4
     150 Post Street, Suite 520
 5   San Francisco, CA 94108
     Telephone: (415) 955-1155
 6
     Facsimile: (415) 955-1158
 7
     Attorneys for Plaintiff Pan Digital
 8
     Network Limited
 9
10
11                             UNITED STATES DISTRICT COURT
12                            CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
13
14   PAN DIGITAL NETWORK LIMITED,             Case No. 2:23-cv-00584
     a United Kingdom limited company,
15
16                 Plaintiff,                 COMPLAINT
17
           v.                                 DEMAND FOR JURY TRIAL
18
     2069913 ONTARIO LIMITED, an
19
     Ontario, Canada business
20   corporation, CHRISTOPHER
     FAGON, an individual, ANDREW
21
     BURROWS-TROTMAN, an
22   individual, CRISTAUDO HOLDINGS
     LLC, a New York limited liability
23
     company, FRANK CRISTAUDO, an
24   individual, and JOHN DOES 1-10,
25
                   Defendants.
26
27
28
     Case No. 2:23-cv-00584                                            COMPLAINT
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 2 of 31 Page ID #:2



 1          Plaintiff, Pan Digital Network Limited, by and through its undersigned
 2   counsel, alleges as follows.
 3                                      INTRODUCTION
 4          1.       Plaintiff Pan Digital Network Limited assists clients in finding
 5   credit/debit card processing solutions.
 6          2.       Many of Plaintiff’s clients operate in high-risk industries in which it
 7   is often difficult to find credit/debit card processing solutions.
 8          3.       Plaintiff functions as an intermediary between its merchant clients
 9   and banks that have agreements with credit card issuers, and which are
10   willing to work with merchants in high-risk industries.
11          4.       Plaintiff connects its clients with payment service providers, which
12   in turn have relationships with banks. Bona fide payment service providers
13   are designated by banks to solicit credit/debit card processing customers and
14   to assist those customers in transmitting credit/debit card transaction data to
15   the banks.
16          5.       In July 2022, Plaintiff entered into a written contract with payment
17   service provider Defendant 2069913 Ontario Limited dba AzulPay
18   (“AzulPay”). AzulPay agreed to provide credit/debit card processing services
19   to Plaintiff.
20          6.       Pursuant to the contract, Plaintiff submitted credit/debit card
21   transactions to AzulPay, and AzulPay was supposed to submit those
22   transactions to one or more banks. In turn, the banks were supposed to settle
23   the credit card transactions and send the funds to AzulPay. AzulPay was then
24   supposed to send the funds—less AzulPay’s commission—to Plaintiff.
25          7.       Unfortunately, AzulPay was part of a conspiracy to defraud
26   Plaintiff and others and to steal their money.
27          8.       After making some initial payments to Plaintiff and encouraging
28   Plaintiff to send a greater volume of credit/debit card transactions to AzulPay,
     Case No. 2:23-cv-00584                                                       COMPLAINT
                                                1
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 3 of 31 Page ID #:3



 1   AzulPay stopped making payments to Plaintiff altogether while owing Plaintiff
 2   over a million dollars in settled credit/debit card transactions.
 3          9.     Shortly after AzulPay stopped making payments, AzulPay
 4   stopped responding to Plaintiff’s           communications,   and its website
 5   disappeared.
 6          10.    Defendant Christopher Fagon (“Fagon”) served as the hub of the
 7   conspiracy to defraud and to steal from Plaintiff. The remaining Defendants
 8   provided essential support for Fagon’s scheme.
 9          11.    This is not the first time Fagon has been involved in money
10   transmission crimes. In May 2016, Christopher Fagon pled guilty to the federal
11   crimes of laundering monetary instruments and operating an unlicensed
12   money transmitting business.
13                              JURISDICTION & VENUE
14          12.    This Court has subject matter jurisdiction under 28 U.S.C. §1331
15   over Plaintiff’s claims arising under the laws of the United States. This Court
16   has supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C.
17   §1367 because those claims are so related to Plaintiff’s federal claims that
18   they form part of the same case or controversy under Article III of the United
19   States Constitution.
20          13.    This Court is a proper venue under 28 U.S.C. §1391 because a
21   substantial part of the events that gave rise to Plaintiff’s claims occurred in
22   this judicial district.
23          14.    On information and belief, this Court has personal jurisdiction over
24   Defendant 2069913 Ontario Limited because its principal place of business is
25   in California.
26          15.    On information and belief, this Court has personal jurisdiction over
27   Defendants Christopher Fagon and Andrews Burrows-Trotman because they
28   reside in California.
     Case No. 2:23-cv-00584                                                  COMPLAINT
                                             2
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 4 of 31 Page ID #:4



 1          16.    On information and belief, this Court has personal jurisdiction over
 2   Defendants Cristaudo Holdings LLC and Frank Cristaudo under 28 U.S.C.
 3   §1965(b) because: a) Plaintiff has alleged a multi-district conspiracy that
 4   includes these Defendants, b) this Court has personal jurisdiction over other
 5   Defendants who were participants in the conspiracy, and c) no other district
 6   court would have personal jurisdiction over all of the alleged co-conspirators.
 7                                       PARTIES
 8          17.    Plaintiff Pan Digital Network Limited is a United Kingdom limited
 9   company with its principal place of business in the United Kingdom.
10          18.    On information and belief, Defendant 2069913 Ontario Limited
11   dba AzulPay is an Ontario, Canada business corporation with its principal
12   place of business in California.
13          19.    On information and belief, Defendant Christopher Fagon is an
14   individual residing in Los Angeles, California.
15          20.    On information and belief, Defendant Andrews Burrows-Trotman
16   is an individual residing in Los Angeles, California.
17          21.    On information and belief, Defendant Cristaudo Holdings LLC is a
18   New York limited liability company with its principal place of business in New
19   York City, New York.
20          22.    On information and belief, Defendant Frank Cristaudo is an
21   individual residing in New York City, New York.
22          23.    On information and belief, Defendants John Does 1–10, inclusive,
23   are responsible in some capacity for the matters alleged in this Complaint.
24   Plaintiff does not know the true names and capacities of Defendants sued
25   herein as John Does 1–10, inclusive, and therefore identifies these
26   Defendants by fictitious names. On information and belief, all Defendants
27   transact business and/or reside in this judicial district and/or have sufficient
28   contacts with this district to subject them to personal jurisdiction. Plaintiff will
     Case No. 2:23-cv-00584                                                    COMPLAINT
                                             3
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 5 of 31 Page ID #:5



 1   amend this Complaint to identify the true names and capacities of John Does
 2   1–10 when they are ascertained.
 3          24.    On information and belief, one or more of Defendants John Does
 4   1–10 was an employee, agent, or representative of the other Defendants, and
 5   was with respect to all matters referred to herein, acting within the purpose
 6   and scope of such employment, agency, or representation. On information
 7   and belief, each Defendant has ratified and/or approved each of the acts and
 8   omissions alleged herein.
 9                              FACTUAL ALLEGATIONS
10   A.     Credit/Debit Card Processing and Plaintiff’s Business
11          25.    The process of paying by a credit or debit card involves multiple
12   steps and multiple actors.
13          26.    First, the cardholder presents their credit/debit card to a merchant
14   in exchange for goods or services. The presentment may occur at a credit
15   card terminal in a brick-and-mortar store, on an e-commerce website, or in a
16   mobile application.
17          27.    Information regarding the proposed credit/debit card transaction
18   is instantaneously communicated to the bank that issued the credit/debit card
19   to the cardholder (i.e., the card-issuing bank). Once the card-issuing bank
20   approves the transaction, the transaction data is recorded by the merchant.
21          28.    For payment of a credit/debit card transaction (i.e., settlement),
22   the merchant sends the authorized transaction data to a bank that has a
23   relationship with the credit/debit card associations, like Visa and Mastercard.
24   This bank is often referred to as the “acquiring bank.” Typically, the
25   transaction data is sent to the acquiring bank in batches.
26          29.    The acquiring bank sends the transaction data to the relevant card
27   association (i.e., Visa transactions are separated out and sent to Visa). The
28   card association then sends the transaction data to the relevant card-issuing
     Case No. 2:23-cv-00584                                                  COMPLAINT
                                             4
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 6 of 31 Page ID #:6



 1   bank. The card-issuing bank charges the cardholder’s account for the amount
 2   of the transaction and transfers the funds to the acquiring bank, less
 3   interchange fees.
 4          30.    The acquiring bank then deposits the funds in the merchant’s
 5   account less any fees.
 6          31.    Acquiring banks may contract with various types of service
 7   providers to assist in this process.
 8          32.    For    example,   a   Merchant    Service    Provider   (“MSP”)   or
 9   Independent Sales Organization (“ISO”) (collectively, a “Payment Service
10   Provider” or “PSP”) is an entity that provides credit/debit card services to
11   merchants based on an agreement between the PSP and an acquiring bank.
12   A PSP’s services may include merchant solicitation, point-of-transaction
13   acceptance device installation and service, and transaction receipt data
14   capture and transmission.
15          33.    Under the card association rules, PSPs are prohibited from: a)
16   contracting directly with the merchant without the acquiring bank as a party to
17   the contract, b) accessing the merchant’s funds, even when they provide
18   technological assistance with the transfer of approved transactions, and c)
19   subcontracting their responsibilities to other entities.
20          34.    Plaintiff assists merchants that operate in high-risk industries with
21   finding credit/debit card processing solutions.
22          35.    Specifically, Plaintiff assists its clients by connecting them with
23   PSPs that have contracted with banks that are willing to accept credit/debit
24   card transactions from merchants operating in high-risk industries.
25          36.    In turn, the PSPs help form relationships between Plaintiff’s clients
26   and one or more acquiring banks.
27          37.    In exchange, both the PSP and Plaintiff receive a commission
28   paid by Plaintiff’s clients.
     Case No. 2:23-cv-00584                                                   COMPLAINT
                                             5
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 7 of 31 Page ID #:7



 1   B.     Fagon’s Criminal History
 2          38.    On November 13, 2014, Defendant Christopher Fagon was
 3   indicted with multiple counts of federal money laundering.
 4          39.    The U.S. Attorney alleged that Fagon was part of a money
 5   laundering conspiracy, in which he conspired to transport, transmit, and
 6   transfer money derived from the sale of controlled substances.
 7          40.    More specifically, the U.S. Attorney alleged that Fagon served as
 8   a courier who picked up and delivered bulk U.S. currency and facilitated the
 9   transfer of this money to drug traffickers in Mexico.
10          41.    The U.S. Attorney alleged that Fagon and his co-conspirators
11   used coded language to effectuate the money laundering.
12          42.    On May 24, 2016, Fagon pled guilty to the laundering of monetary
13   instruments/engaging in monetary transactions in property derived from
14   specified unlawful activity in violation of 18 U.S.C. §1956(h) and operating an
15   unlicensed money transmitting business in violation of 18 U.S.C. §1960.
16   C.     Defendants’ Conspiracy
17          43.    On information and belief, Defendant Fagon came up with a plan
18   to defraud merchants and merchant service providers.
19          44.    On information and belief, Fagon was at the center of the scheme
20   and engaged the other Defendants to help with different aspects of the
21   scheme.
22          45.    On information and belief, the other Defendants agreed to
23   participate in Fagon’s plan and helped carry it out.
24          46.    On information and belief, Defendants sought to gain the trust of
25   merchants and merchant service providers by marketing AzulPay as a
26   legitimate PSP that could assist merchants in high-risk industries.
27          47.    In fact, AzulPay was not a registered PSP with Visa or
28   Mastercard; such status would have required a vetting process and acquiring
     Case No. 2:23-cv-00584                                                COMPLAINT
                                            6
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 8 of 31 Page ID #:8



 1   bank sponsorship.
 2          48.    On information and belief, Defendants created a fully-interactive
 3   website for AzulPay and used that website to market AzulPay to merchants
 4   and merchant service providers (collectively, “AzulPay’s Merchant Clients”).
 5          49.    Specifically, on April 22, 2022, one or more Defendants registered
 6   the domain name <azulpay.co>. Shortly thereafter, one or more Defendants
 7   created a fully-interactive website located at <azulpay.co> (the “AzulPay
 8   Website”).
 9          50.    The AzulPay Website advertised that           AzulPay provided
10   credit/debit card processing services.
11          51.    On information and belief, Defendants agreed and planned to use
12   the AzulPay Website to lure AzulPay’s Merchant Clients into entering a
13   merchant-processing agreement with AzulPay.
14          52.    On information and belief, Defendant Andrew Burrows-Trotman
15   oversaw the day-to-day activities of AzulPay, acting behind the scenes as
16   AzulPay’s Chief Executive Officer.
17          53.    On information and belief, Defendants agreed and planned to
18   initially process transactions for AzulPay’s Merchant Clients.
19          54.    Because AzulPay was not a registered PSP and had no
20   relationship with an acquiring bank, on information and belief, Defendants
21   opened merchant accounts in certain Defendants’ names, namely Cristaudo
22   Holdings LLC and John Does 6-10.
23          55.    On information and belief, Defendant Frank Cristaudo worked
24   with the other Defendants to open one or more merchant accounts with
25   acquiring banks in the name of Cristaudo Holdings LLC.
26          56.    On information and belief, Cristaudo Holdings LLC is not a
27   merchant that accepts credit/debit card payments, and it is not a registered
28   PSP.
     Case No. 2:23-cv-00584                                                COMPLAINT
                                            7
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 9 of 31 Page ID #:9



 1          57.    On information and belief, Defendants submitted credit/debit card
 2   transactions from AzulPay’s Merchant Clients to acquiring banks while falsely
 3   representing to the acquiring banks that the transactions were those of
 4   Cristaudo Holdings LLC and John Does 6-10 instead of those of AzulPay’s
 5   Merchant Clients. Thus, when the acquiring banks paid out the settled funds,
 6   the banks paid the funds to Cristaudo Holdings LLC and John Does 6-10 (and
 7   not to AzulPay’s Merchant Clients).
 8          58.    Initially, Defendants paid the settled credit/debit card funds to
 9   AzulPay’s Merchant Clients.
10          59.    On information and belief, Defendants agreed and planned that
11   once AzulPay had established the trust of AzulPay’s Merchant Clients,
12   Defendants would encourage AzulPay’s Merchant Clients to increase their
13   volume of credit/debit card transactions.
14          60.    On information and belief, Defendants further agreed and planned
15   that when AzulPay’s Merchant Clients increased their volume of transactions,
16   Defendants would steal the settled funds and AzulPay would disappear.
17 D.       Defendants’ Defrauding of Plaintiff and Theft of Plaintiff’s Money
18          61.    On information and belief, in or around May 2022, Defendants
19   Fagon, AzulPay, Burrows-Trotman, and John Does 1-5 began promoting
20   AzulPay as a PSP for merchants in high-risk industries.
21          62.    On or around June 26, 2022, Plaintiff contacted AzulPay based
22   on the recommendation of another PSP (i.e., Payzentric).
23          63.    In response, AzulPay, explained to Plaintiff that AzulPay was a
24   PSP for multiple African banks, and that AzulPay could help process
25   credit/debit card transactions for merchants in high-risk industries.
26          64.    On July 7, 2022, Plaintiff entered into a merchant processing
27   agreement with AzulPay (the “Contract”). A copy of the Contract is attached
28   hereto as Exhibit A.
     Case No. 2:23-cv-00584                                                  COMPLAINT
                                            8
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 10 of 31 Page ID #:10



  1          65.    The Contract provides,
  2          “2069913 Ontario Inc. s [AzulPay] shall provide Credit Card
  3          processing capabilities to the Client as well as other agreed to
  4          services such as gateway services, chargeback management
  5          and any other services deemed necessary for the successful
  6          processing and operation of its online business.”
  7          66.    Exhibit A to the Contract sets forth the “Settlement Schedule: T+7
  8   Days.”
  9          67.    On information and belief, Defendants presented the Contract to
 10   Plaintiff with the intent to defraud Plaintiff and to steal Plaintiff’s money
 11   according to the conspiracy described above. Specifically, Defendants
 12   intended to lure Plaintiff into signing the Contract, then to begin processing
 13   transactions for Plaintiff, then to encourage Plaintiff to send a greater volume
 14   of transactions to AzulPay, and then to steal Plaintiff’s money.
 15          68.    After signing the Contract and creating an account through the
 16   AzulPay Website, Plaintiff began submitting credit/debit card transactions to
 17   AzulPay for processing and settlement.
 18          69.     At first, Plaintiff received the funds for the settled transactions
 19   pursuant to the Contract, though sometimes with minor delays.
 20          70.    However, the settled funds were often transferred to Plaintiff either
 21   through untraceable cryptocurrency or from parties other than AzulPay.
 22          71.    As an example, on July 18, 2022, Defendant Cristaudo Holdings
 23   LLC transferred £19,373.24 to Plaintiff’s client.
 24          72.    As another example, on August 3, 2022, Defendant Cristaudo
 25   Holdings LLC transferred £79,597.95 to Plaintiff’s client.
 26          73.    As another example, on August 8, 2022, Defendant Cristaudo
 27   Holdings LLC transferred £31,512.32 to Plaintiff’s client.
 28          74.    As another example, on August 10, 2022, Defendant Cristaudo
      Case No. 2:23-cv-00584                                                   COMPLAINT
                                              9
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 11 of 31 Page ID #:11



  1   Holdings LLC transferred £15,383.76 to Plaintiff’s client.
  2          75.    On information and belief, Defendant Frank Cristaudo initiated
  3   these transfers pursuant to directions received from Fagon.
  4          76.    There would have been no reason for Cristaudo Holdings LLC or
  5   Frank Cristaudo to transfer money to Plaintiff or Plaintiff’s clients except in
  6   furtherance of their relationship with AzulPay and Fagon and as part of a
  7   conspiracy to defraud and to steal from Plaintiff.
  8          77.    By early October 2022, the short delays in AzulPay’s settlement
  9   become longer.
 10          78.    By late October 2022, Plaintiff stopped receiving payments from
 11   AzulPay (or other entities on behalf of AzulPay) altogether.
 12          79.    On November 7, 2022, AzulPay sent a letter to Plaintiff, ostensibly
 13   from a “Taylor Givins,” stating:
 14          “We wanted to take the time to explain the problems we’ve
 15          encountered with respect to the settlements that have not been
 16          paid out to you as yet.
 17
 18          For your processing in September and October we had two
 19          banks in Africa that held the funds due to fines levied on their
 20          bank both from Visa and MasterCard. This is not necessarily
 21          reflective of your volume or MIDS but it’s cumulative to the BIN
 22          that you were in. Unfortunately, African banks are notoriously
 23          slow in fixing these issues and so we have not received your
 24          funds as yet.
 25
 26          The banks in question are GT Bank and Wema. We pledged to
 27          start trying to settle out of our own commissions last month and
 28          then we had funds held at FTX resulting in our inability to send
      Case No. 2:23-cv-00584                                                 COMPLAINT
                                             10
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 12 of 31 Page ID #:12



  1          funds to several of our merchants, agents and partners.
  2
  3          Because of these obstacles, we’ve pledged to start settling you
  4          as of December 9th - December 13th. Starting with your most
  5          recent processing of approx $45K. The week of December 9th we
  6          will start looking at a schedule that makes sense and can be
  7          adhered to in order to settle remaining funds.
  8
  9          Looking forward to working with you to settle in full and hopefully
 10          resume business in the near future.”
 11          80.    This letter was false. GT Bank in Nigeria continued processing
 12   payments for Plaintiff through a different PSP during this same time period
 13   and afterward.
 14          81.    On information and belief, Taylor Givins is a fictitious person, and
 15   no such person works for or represents AzulPay.
 16          82.    Plaintiff never received any further payments or communications
 17   from AzulPay.
 18          83.    When Plaintiff sought to contact AzulPay, it received no response.
 19          84.    By January 1, 2023, the AzulPay Website was gone.
 20          85.    In total, Defendants stole and failed to pay Plaintiff $1,127,899.91
 21   in settled credit/debit card funds.
 22                                FIRST CLAIM FOR RELIEF
 23    (Violation of the Racketeer Influenced and Corrupt Organizations Act
 24                            (“RICO”) 18 U.S.C. §§1961, et seq.)
 25                                 (Against All Defendants)
 26          86.    Plaintiff repeats and incorporates by reference the allegations
 27   contained in the preceding paragraphs.
 28          87.    Defendants are “persons” within the meaning of 18 U.S.C.
      Case No. 2:23-cv-00584                                                  COMPLAINT
                                              11
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 13 of 31 Page ID #:13



  1   §1961(3).
  2          88.    On information and belief, Defendants formed an association-in-
  3   fact enterprise. Specifically, on information and belief, Defendants formed an
  4   enterprise when they created a framework to carry out their common
  5   purpose of defrauding AzulPay’s Merchants Clients and stealing their
  6   money.
  7          89.    On information and belief, Defendants’ enterprise was structured
  8   as follows: Defendant Fagon created the business entity AzulPay and came
  9   up with the plan to defraud AzulPay’s Merchant Clients. Fagon enlisted
 10   Defendants Burrows-Trotman and John Does 1-5 to help operate AzulPay,
 11   including by falsely marketing AzulPay as a bona fide PSP for AzulPay’s
 12   Merchant Clients. Fagon enlisted Defendants Frank Cristaudo, Cristaudo
 13   Holdings LLC, and John Does 6-10 to open merchant accounts with
 14   acquiring banks and to receive and pay out settled funds according to
 15   Fagon’s scheme.
 16          90.    On information and belief, Defendants perpetrated their activities
 17   in furtherance of the conspiracy as a single unit.
 18          91.    Each Defendant’s coordinated activities were necessary to
 19   successfully complete the fraudulent scheme and to steal money from
 20   Plaintiff and other AzulPay Merchant Clients.
 21          92.    Defendants and Defendants’ enterprise engaged in racketeering
 22   activity in the form of wire fraud in violation of 18 U.S.C. §1343 by: a) forming
 23   a scheme to defraud, b) using the wires in furtherance of that scheme, and
 24   c) with the specific intent to defraud. Specifically, Defendants made false
 25   misrepresentations by electronic communications to Plaintiff and other
 26   AzulPay Merchant Clients, namely that AzulPay would provide credit/debit
 27   card processing services and remit settled funds to Plaintiff and other
 28   AzulPay Merchant Clients, such as Fix Idea Ltd dba PayAdmit (“PayAdmit”).
      Case No. 2:23-cv-00584                                                  COMPLAINT
                                             12
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 14 of 31 Page ID #:14



  1   Defendants’ fraudulent statements were material and induced reliance by
  2   Plaintiff and other AzulPay Merchant Clients, such as PayAdmit.
  3          93.    Defendants and Defendants’ enterprise engaged in racketeering
  4   activity in the form of financial institution fraud in violation of 18 U.S.C. §1344
  5   by obtaining money under the custody or control of a financial institution by
  6   means of false representations. Specifically, Defendants submitted
  7   credit/debit card transactions to acquiring banks (e.g., Guaranty Trust Bank
  8   Limited) while falsely representing that the transactions were those of
  9   Defendants rather than those of Plaintiff and AzulPay’s other Merchant
 10   Clients, and that Defendants were entitled to the settled funds.
 11          94.    Defendants and Defendants’ enterprise engaged in racketeering
 12   activity in the form of operating an unlicensed money transmission business
 13   in violation of 18 U.S.C. §1960. Specifically, Defendants were involved in the
 14   transportation and transmission of funds that they knew had been derived
 15   from a criminal offense.
 16          95.    Defendants AzulPay and Fagon engaged in at least two
 17   predicate acts in support of the enterprise’s racketeering activity when they
 18   fraudulently induced Plaintiff and PayAdmit into entering into a merchant
 19   processing agreement with AzulPay with the intent to steal their money.
 20          96.    Defendants Burrows-Trotman and John Does 1-5 engaged in at
 21   least two predicate acts in support of the enterprise’s racketeering activity
 22   when they operated AzulPay, including AzulPay’s fraudulent AzulPay
 23   Website and the transmission of AzulPay Merchant Clients’ transaction data
 24   to acquiring banks, with the intent to steal money (including the data of
 25   Plaintiff and PayAdmit). The conduct of Burrows-Trotman and John Does 1-
 26   5 induced Plaintiff and PayAdmit to enter into a merchant processing
 27   agreement with AzulPay and to continue processing with AzulPay.
 28          97.    Defendants Frank Cristaudo, Cristaudo Holdings LLC, and John
      Case No. 2:23-cv-00584                                                    COMPLAINT
                                             13
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 15 of 31 Page ID #:15



  1   Does 6-10 engaged in at least two predicate acts in support of the
  2   enterprise’s racketeering activity when they: a) submitted or caused to be
  3   submitted Plaintiff’s transaction data to acquiring banks on at least two
  4   occasions in their own names rather than Plaintiff’s name, b) when they
  5   received Plaintiff’s settled funds from acquiring banks, and c) when they
  6   made or caused to be made at least two payments to Plaintiff’s client
  7   pursuant to the Contract even though they had no relationship with Plaintiff
  8   or Plaintiff’s client and were not parties to the Contract.
  9          98.    On information and belief, in engaging in this activity, each
 10   Defendant knowingly implemented the decisions of Fagon to defraud and to
 11   steal from Plaintiff and other AzulPay Merchant Clients, and each Defendant
 12   was indispensable to the achievement of the enterprise’s goal.
 13          99.    Defendants’ enterprise lasted from at least April 2022 through
 14   November 2022.
 15          100. As a result of Defendants’ racketeering activity, Plaintiff has
 16   suffered an injury to its business and property.
 17                            SECOND CLAIM FOR RELIEF
 18           (Fraudulent Inducement, Conspiracy to Commit Fraudulent
 19         Inducement, and Aiding and Abetting Fraudulent Inducement)
 20                              (Against All Defendants)
 21          101. Plaintiff repeats and incorporates by reference the allegations
 22   contained in the preceding paragraphs.
 23          102. On July 7, 2022, and on multiple occasions before then, AzulPay
 24   and Fagon represented that AzulPay would provide debit/credit card
 25   processing services to Plaintiff and send the settled funds to Plaintiff.
 26          103. The representations of AzulPay and Fagon were false, in that
 27   Defendants intended to steal Plaintiff’s settled funds.
 28          104. AzulPay and Fagon knew their representations were false when
      Case No. 2:23-cv-00584                                                 COMPLAINT
                                             14
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 16 of 31 Page ID #:16



  1   they made them because they intended to steal Plaintiff’s settled funds at
  2   the time they made the representations.
  3          105. Plaintiff relied on the representations of AzulPay and Fagon that
  4   AzulPay would process Plaintiff’s credit/debit card transactions and send
  5   Plaintiff the settled funds. Plaintiff’s reliance was reasonable given that
  6   AzulPay acted like other reputable PSPs, AzulPay initially provided Plaintiff
  7   with the settled funds, and other participants in the payment processing
  8   industry recommended AzulPay.
  9          106. As a result of Plaintiff’s reliance on AzulPay and Fagon’s
 10   misrepresentations, Plaintiff entered into the Contract.
 11          107. As a result of Plaintiff’s reliance on AzulPay and Fagon’s
 12   misrepresentations, Plaintiff was damaged.
 13          108. (Aiding and Abetting Fraudulent Inducement): Defendants
 14   Burrows-Trotman, Frank Cristaudo, Cristaudo Holdings LLC, and John Does
 15   1-10 aided and abetted AzulPay and Fagon in fraudulently inducing Plaintiff
 16   to enter the Contract.
 17          109. On information and belief, Defendants Burrows-Trotman, Frank
 18   Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 knew that AzulPay
 19   and Fagon intended for Fagon and AzulPay to make the above-described
 20   false representation to Plaintiff and other AzulPay Merchant Clients to induce
 21   them into entering a debit/credit card processing relationship.
 22          110. On information and belief, Defendants Burrows-Trotman, Frank
 23   Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 gave substantial
 24   assistance to Fagon and AzulPay in perpetrating a scheme to defraud
 25   Plaintiff and other AzulPay Merchant Clients.
 26          111. The conduct of Defendants Burrows-Trotman, Frank Cristaudo,
 27   Cristaudo Holdings LLC, and John Does 1-10 was a substantial factor in
 28   causing harm to Plaintiff and a but-for and proximate cause of Plaintiff’s
      Case No. 2:23-cv-00584                                               COMPLAINT
                                           15
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 17 of 31 Page ID #:17



  1   injuries.
  2          112. On information and belief, Defendants Burrows-Trotman, Frank
  3   Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 had the specific
  4   intent and consciously decided to facilitate the wrongful conduct of AzulPay
  5   and Fagon, including their false representations to Plaintiff.
  6          113. Even         if   Defendants   Burrows-Trotman,   Frank   Cristaudo,
  7   Cristaudo Holdings LLC, and John Does 1-10 did not have knowledge of
  8   AzulPay and Fagon’s wrongful conduct, they are separately responsible for
  9   and liable for the fraudulent inducement as aider and abettors because they
 10   gave AzulPay and Fagon substantial assistance in achieving the tortious
 11   result and their own conduct, separately considered, constitutes a breach of
 12   duty to Plaintiff.
 13          114. (Conspiracy          to   Commit    Fraudulent    Inducement):   On
 14   information and belief, each Defendant was part of a conspiracy to
 15   fraudulently induce Plaintiff and other AzulPay Merchant Clients to enter into
 16   a debit/credit card processing relationship with AzulPay.
 17          115. On information and belief, the conspiracy was in existence at
 18   least as of April 2022 when AzulPay acquired the <azulpay.co> domain
 19   name. On information and belief, each Defendant had joined the conspiracy
 20   as of that date.
 21          116. On information and belief, the conspiracy operated at a high level
 22   as follows: Defendant Fagon created the business entity AzulPay and came
 23   up with the plan to defraud AzulPay’s Merchant Clients. Fagon enlisted
 24   Defendants Burrows-Trotman and John Does 1-5 to help operate AzulPay,
 25   including by falsely marketing AzulPay as a bona fide PSP for AzulPay’s
 26   Merchant Clients. Fagon enlisted Defendants Frank Cristaudo, Cristaudo
 27   Holdings LLC, and John Does 6-10 to open merchant accounts with
 28   acquiring banks and to receive and pay out settled funds according to
      Case No. 2:23-cv-00584                                                  COMPLAINT
                                                 16
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 18 of 31 Page ID #:18



  1   Fagon’s scheme. When AzulPay had developed trust with its AzulPay
  2   Merchant Clients, it stopped sending the settled funds to those AzulPay
  3   Merchant Clients, and Defendants retained the funds for themselves.
  4          117. Defendants achieved the goal of the conspiracy of inducing
  5   Plaintiff to enter the Contract and stealing Plaintiff’s funds.
  6          118. Plaintiff was damaged as a result of the conspiratorial conduct of
  7   Defendants.
  8                            THIRD CLAIM FOR RELIEF
  9     (Fraud, Conspiracy to Commit Fraud, & Aiding and Abetting Fraud)
 10                              (Against All Defendants)
 11          119. Plaintiff repeats and incorporates by reference the allegations
 12   contained in the preceding paragraphs.
 13          120. On July 7, 2022, and on multiple occasions before then, AzulPay
 14   and Fagon represented that AzulPay would provide debit/credit card
 15   processing services to Plaintiff and send Plaintiff the settled funds.
 16          121. The representations of AzulPay and Fagon were false in that
 17   Defendants intended to steal Plaintiff’s settled funds.
 18          122. AzulPay and Fagon knew their representations were false when
 19   they made them because they intended to steal Plaintiff’s settled funds at
 20   the time they made the representations.
 21          123. Plaintiff relied on the representations of AzulPay and Fagon that
 22   AzulPay would process Plaintiff’s credit/debit card transactions and send
 23   Plaintiff the settled funds. Plaintiff’s reliance was reasonable given that
 24   AzulPay acted similarly to other reputable PSPs, AzulPay initially provided
 25   Plaintiff with settled funds, and other participants in the payment processing
 26   industry recommended AzulPay.
 27          124. As a result of AzulPay and Fagon’s misrepresentations, Plaintiff
 28   was damaged.
      Case No. 2:23-cv-00584                                                   COMPLAINT
                                             17
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 19 of 31 Page ID #:19



  1          125. (Aiding and Abetting Fraud): Defendants Burrows-Trotman,
  2   Frank Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 aided and
  3   abetted AzulPay and Fagon in their fraudulent representations to Plaintiff.
  4          126. On information and belief, Defendants Burrows-Trotman, Frank
  5   Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 knew that AzulPay
  6   and Fagon intended to make the above-described false representations to
  7   Plaintiff and other AzulPay Merchant Clients.
  8          127. Defendants Burrows-Trotman, Frank Cristaudo, Cristaudo
  9   Holdings LLC, and John Does 1-10 gave substantial assistance to Fagon
 10   and AzulPay in perpetrating a scheme to defraud Plaintiff and other AzulPay
 11   Merchant Clients, including by falsely representing that AzulPay would
 12   provide credit/debit card processing services.
 13          128. The conduct of Defendants Burrows-Trotman, Frank Cristaudo,
 14   Cristaudo Holdings LLC, and John Does 1-10 was a substantial factor in
 15   causing harm to Plaintiff and a but-for and proximate cause of Plaintiff’s
 16   injuries.
 17          129. On information and belief, Defendants Burrows-Trotman, Frank
 18   Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 had the specific
 19   intent and consciously decided to facilitate the wrongful conduct of AzulPay
 20   and Fagon, including their false representations to Plaintiff.
 21          130. Even         if   Defendants   Burrows-Trotman,   Frank   Cristaudo,
 22   Cristaudo Holdings LLC, and John Does 1-10 did not have knowledge of
 23   AzulPay and Fagon’s wrongful conduct, they are separately responsible for
 24   and liable for the fraudulent inducement as aider and abettors because they
 25   gave AzulPay and Fagon substantial assistance in achieving the tortious
 26   result and their own conduct, separately considered, constitutes a breach of
 27   duty to Plaintiff.
 28          131. (Conspiracy to Commit Fraud): On information and belief,
      Case No. 2:23-cv-00584                                                  COMPLAINT
                                                 18
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 20 of 31 Page ID #:20



  1   each Defendant was part of a conspiracy to defraud Plaintiff and other
  2   AzulPay Merchant Clients.
  3          132. On information and belief, the conspiracy was in existence at
  4   least as of April 2022 when AzulPay acquired the <azulpay.co> domain
  5   name. On information and belief, each Defendant had joined the conspiracy
  6   as of that date.
  7          133. On information and belief, the conspiracy operated at a high level
  8   as follows: Defendant Fagon created the business entity AzulPay and came
  9   up with the plan to defraud AzulPay’s Merchant Clients. Fagon enlisted
 10   Defendants Burrows-Trotman and John Does 1-5 to help operate AzulPay,
 11   including by falsely marketing AzulPay as a bona fide PSP for AzulPay’s
 12   Merchant Clients. Fagon enlisted Defendants Frank Cristaudo, Cristaudo
 13   Holdings LLC, and John Does 6-10 to open merchant accounts with
 14   acquiring banks and to receive and pay out settled funds according to
 15   Fagon’s scheme. When AzulPay had developed trust with its AzulPay
 16   Merchant Clients, it stopped sending the settled funds to those AzulPay
 17   Merchant Clients and Defendants retained the funds for themselves.
 18          134. Defendants achieved the goal of the conspiracy of defrauding
 19   Plaintiff and stealing Plaintiff’s funds.
 20          135. Plaintiff was damaged as a result of the conspiratorial conduct of
 21   Defendants.
 22                            FOURTH CLAIM FOR RELIEF
 23        (Conversion, Conspiracy to Commit Conversion, & Aiding and
 24                                Abetting Conversion)
 25                               (Against All Defendants)
 26          136. Plaintiff repeats and incorporates by reference the allegations
 27   contained in the preceding paragraphs.
 28          137. Plaintiff owns and has the right to possess $1,127,899.91.
      Case No. 2:23-cv-00584                                               COMPLAINT
                                              19
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 21 of 31 Page ID #:21



  1          138. Plaintiff is entitled to immediate possession of these funds.
  2          139. On information and belief, Defendants disposed of these funds
  3   in a manner inconsistent with Plaintiff’s rights—i.e., Defendants stole the
  4   funds from Plaintiff.
  5          140. On information and belief, Defendants intended to dispose of
  6   Plaintiff’s funds in a manner inconsistent with Plaintiff’s rights.
  7          141. As a result of Defendants’ conduct, Plaintiff has been damaged.
  8          142. (Aiding and Abetting Conversion): Defendants aided and
  9   abetted one another in the conversion of Plaintiff’s funds.
 10          143. On information and belief, each Defendant intended to dispose
 11   of Plaintiff’s funds in a manner inconsistent with Plaintiff’s rights.
 12          144. Each Defendant gave substantial assistance to the other
 13   Defendants in perpetrating the scheme to steal Plaintiff’s funds.
 14          145. Each Defendant’s conduct was a substantial factor in causing
 15   harm to Plaintiff and a but-for and proximate cause of Plaintiff’s injuries.
 16          146. On information and belief, each Defendant had the specific intent
 17   and consciously decided to facilitate the theft of Plaintiff’s funds.
 18          147. Even if any Defendants did not have knowledge of the
 19   conversion of Plaintiff’s funds, they are separately responsible for and liable
 20   for the conversion as aider and abettors because they gave the other
 21   Defendants substantial assistance in achieving the tortious result, and their
 22   own conduct, separately considered, constitutes a breach of a duty to
 23   Plaintiff.
 24          148. (Conspiracy to Commit Conversion): On information and
 25   belief, each Defendant was part of a conspiracy to steal the funds of Plaintiff
 26   and other AzulPay Merchant Clients.
 27          149. On information and belief, the conspiracy was in existence at
 28   least as of April 2022 when AzulPay acquired the <azulpay.co> domain
      Case No. 2:23-cv-00584                                                   COMPLAINT
                                             20
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 22 of 31 Page ID #:22



  1   name. On information and belief, each Defendant had joined the conspiracy
  2   as of that date.
  3          150. On information and belief, the conspiracy operated at a high level
  4   as follows: Defendant Fagon created the business entity AzulPay and came
  5   up with the plan to defraud AzulPay’s Merchant Clients. Fagon enlisted
  6   Defendants Burrows-Trotman and John Does 1-5 to help operate AzulPay,
  7   including by falsely marketing AzulPay as a bona fide PSP for AzulPay’s
  8   Merchant Clients. Fagon enlisted Defendants Frank Cristaudo, Cristaudo
  9   Holdings LLC, and John Does 6-10 to open merchant accounts with
 10   acquiring banks and to receive and pay out settled funds according to
 11   Fagon’s scheme. When AzulPay had developed trust with its AzulPay
 12   Merchant Clients, it stopped sending the settled funds to those AzulPay
 13   Merchant Clients and Defendants retained the funds for themselves.
 14          151. Defendants achieved the goal of the conspiracy of stealing
 15   Plaintiff’s funds.
 16          152. Plaintiff was damaged as a result of the conspiratorial conduct of
 17   Defendants in stealing Plaintiff’s funds.
 18                             FIFTH CLAIM FOR RELIEF
 19                                (Breach of Contract)
 20                                  (Against AzulPay)
 21          153. Plaintiff repeats and incorporates by reference the allegations
 22   contained in the preceding paragraphs.
 23          154. On July 7, 2022, Plaintiff entered into a written Contract with
 24   AzulPay.
 25          155. Under the Contract, AzulPay agreed to process credit/debit card
 26   transactions for Plaintiff and to send Plaintiff the settled funds.
 27          156. Plaintiff performed under the Contract.
 28          157. AzulPay breached the Contract when it did not send settled funds
      Case No. 2:23-cv-00584                                                COMPLAINT
                                             21
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 23 of 31 Page ID #:23



  1   to Plaintiff.
  2          158. As a result of AzulPay’s breaches, Plaintiff has been damaged,
  3   including the loss of the settled funds to which Plaintiff is entitled.
  4                               SIXTH CLAIM FOR RELIEF
  5        (Intentional Interference with Contractual Relations, Aiding and
  6        Abetting Intentional Interference with Contractual Relations, &
  7                   Conspiracy to Interfere with Contractual Relations)
  8       (Against Defendants Fagon, Burrows-Trotman, Frank Cristaudo,
  9                     Cristaudo Holdings LLC, and John Does 1-10 )
 10          156. Plaintiff repeats and incorporates by reference the allegations
 11   contained in the preceding paragraphs.
 12          157. On July 7, 2022, Plaintiff entered into a written Contract with
 13   AzulPay.
 14          158. On information and belief, Defendants Fagon, Burrows-Trotman,
 15   Frank Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 knew about
 16   the Contract.
 17          159. On information and belief, Defendants Fagon, Burrows-Trotman,
 18   Frank Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 engaged in
 19   intentional acts designed to induce a breach or disruption of the Contract.
 20          160. Specifically, on information and belief, Defendants Fagon,
 21   Burrows-Trotman, Frank Cristaudo, Cristaudo Holdings LLC, and John Does
 22   1-10 engaged in conduct to lure Plaintiff into entering into the Contract and
 23   then to increase the volume of Plaintiff’s credit/debit card transactions
 24   submitted to AzulPay. Defendants then stole Plaintiff’s settled funds, causing
 25   AzulPay to breach the Contract.
 26          161. As a result of the conduct of Defendants Fagon, Burrows-
 27   Trotman, Frank Cristaudo, Cristaudo Holdings LLC, and John Does 1-10,
 28   AzulPay breached its Contract with Plaintiff by not paying Plaintiff the settled
      Case No. 2:23-cv-00584                                                    COMPLAINT
                                             22
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 24 of 31 Page ID #:24



  1   funds.
  2          162. As a result of AzulPay’s breaches of the Contract, Plaintiff has
  3   been damaged, including the loss of the settled funds to which Plaintiff is
  4   entitled.
  5          159. (Aiding      and    Abetting    Interference   with    Contractual
  6   Relations): Defendants Fagon, Burrows-Trotman, Frank Cristaudo,
  7   Cristaudo Holdings LLC, and John Does 1-10 aided and abetted each other
  8   in their scheme to cause AzulPay to breach the Contract by not paying
  9   settled funds to Plaintiff.
 10          160. On information and belief, Defendants Fagon, Burrows-Trotman,
 11   Frank Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 intended to
 12   work with each other to steal money from Plaintiff and thereby cause AzulPay
 13   to breach the Contract.
 14          161. Defendants        Fagon,   Burrows-Trotman,    Frank    Cristaudo,
 15   Cristaudo Holdings LLC, and John Does 1-10 gave substantial assistance to
 16   each other in perpetrating the scheme to steal Plaintiff’s funds and thereby
 17   cause AzulPay to breach the Contract.
 18          162. The conduct of Fagon, Burrows-Trotman, Frank Cristaudo,
 19   Cristaudo Holdings LLC, and John Does 1-10 was a substantial factor in
 20   causing harm to Plaintiff and a but-for and proximate cause of Plaintiff’s
 21   injuries.
 22          163. On information and belief, Defendants Fagon, Burrows-Trotman,
 23   Frank Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 had the
 24   specific intent and consciously decided to steal Plaintiff’s funds and thereby
 25   cause AzulPay to breach the Contract.
 26          164. Even if Defendants Fagon, Burrows-Trotman, Frank Cristaudo,
 27   Cristaudo Holdings LLC, and John Does 1-10 did not have knowledge of the
 28   other Defendants’ wrongful conduct, they are separately responsible for and
      Case No. 2:23-cv-00584                                                COMPLAINT
                                             23
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 25 of 31 Page ID #:25



  1   liable for the interference with the Contract as aider and abettors because
  2   they gave each other substantial assistance in achieving the tortious result
  3   and their own conduct, separately considered, constitutes a breach of duty
  4   to Plaintiff.
  5          165. (Conspiracy to Interfere with Contractual Relations): On
  6   information and belief, Defendants Fagon, Burrows-Trotman, Frank
  7   Cristaudo, Cristaudo Holdings LLC, and John Does 1-10 were part of a
  8   conspiracy to cause AzulPay to breach the Contract by not paying settled
  9   funds to Plaintiff.
 10          166. On information and belief, the conspiracy was in existence at
 11   least as of April 2022 when AzulPay acquired the <azulpay.co> domain
 12   name. On information and belief, each Defendant had joined the conspiracy
 13   as of that date.
 14          167. On information and belief, the conspiracy operated at a high level
 15   as follows: Defendant Fagon created the business entity AzulPay and came
 16   up with the plan to defraud AzulPay’s Merchant Clients. Fagon enlisted
 17   Defendants Burrows-Trotman and John Does 1-5 to help operate AzulPay,
 18   including by falsely marketing AzulPay as a bona fide PSP for AzulPay’s
 19   Merchant Clients. Fagon enlisted Defendants Frank Cristaudo, Cristaudo
 20   Holdings LLC, and John Does 6-10 to open merchant accounts with
 21   acquiring banks and to receive and pay out settled funds according to
 22   Fagon’s scheme. When AzulPay had developed trust with its AzulPay
 23   Merchant Clients, it stopped sending the settled funds to those AzulPay
 24   Merchant Clients and Defendants retained the funds for themselves.
 25          168. Defendants     Fagon,    Burrows-Trotman,     Frank    Cristaudo,
 26   Cristaudo Holdings LLC, and John Does 1-10 achieved the goal of the
 27   conspiracy of causing AzulPay to breach the Contract by not paying settled
 28   funds to Plaintiff.
      Case No. 2:23-cv-00584                                               COMPLAINT
                                            24
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 26 of 31 Page ID #:26



  1          169. Plaintiff was damaged as a result of the conspiratorial conduct of
  2   Defendants Fagon, Burrows-Trotman, Frank Cristaudo, Cristaudo Holdings
  3   LLC, and John Does 1-10.
  4                            SEVENTH CLAIM FOR RELIEF
  5         (Violation of California Penal Code §496, Aiding and Abetting
  6       Violations of California Penal Code §496, & Conspiracy to Violate
  7                             California Penal Code §496)
  8                              (Against All Defendants)
  9          170. Plaintiff repeats and incorporates by reference the allegations
 10   contained in the preceding paragraphs.
 11          171. On information and belief, Defendants received Plaintiff’s stolen
 12   funds knowing the funds had been stolen in violation of California Penal
 13   Code §496.
 14          172. As a result of Defendants’ violation of California Penal Code
 15   §496, Plaintiff has been harmed.
 16          173. (Aiding and Abetting Violation of California Penal Code
 17   §496): Defendants aided and abetted each other in their scheme to steal
 18   money from Plaintiff.
 19          174. On information and belief, Defendants intended to work with
 20   each other to steal money from Plaintiff.
 21          175. Defendants gave substantial assistance to each other in
 22   perpetrating the scheme to steal Plaintiff’s funds.
 23          176. Defendants’ conduct was a substantial factor in causing harm to
 24   Plaintiff and a but-for and proximate cause of Plaintiff’s injuries.
 25          177. On information and belief, Defendants had the specific intent and
 26   consciously decided to facilitate the theft of Plaintiff’s funds.
 27          178. Even if any Defendant did not have knowledge of the other
 28   Defendants’ wrongful conduct, they are separately responsible for and liable
      Case No. 2:23-cv-00584                                                 COMPLAINT
                                             25
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 27 of 31 Page ID #:27



  1   for violations of California Penal Code §496 as aider and abettors because
  2   they gave the other Defendants substantial assistance in achieving the
  3   unlawful result, and their own conduct, separately considered, constitutes a
  4   breach of duty to Plaintiff.
  5          179. (Conspiracy to Violate California Penal Code §496):
  6   Defendants were part of a conspiracy to defraud Plaintiff and other AzulPay
  7   Merchant Clients and to steal their money.
  8          180. On information and belief, the conspiracy was in existence at
  9   least as of April 2022 when AzulPay acquired the <azulpay.co> domain
 10   name. On information and belief, each Defendant had joined the conspiracy
 11   as of that date.
 12          181. On information and belief, the conspiracy operated at a high level
 13   as follows: Defendant Fagon created the business entity AzulPay and came
 14   up with the plan to defraud AzulPay’s Merchant Clients. Fagon enlisted
 15   Defendants Burrows-Trotman and John Does 1-5 to help operate AzulPay,
 16   including by falsely marketing AzulPay as a bona fide PSP for AzulPay’s
 17   Merchant Clients. Fagon enlisted Defendants Frank Cristaudo, Cristaudo
 18   Holdings LLC, and John Does 6-10 to open merchant accounts with
 19   acquiring banks and to receive and pay out settled funds according to
 20   Fagon’s scheme. When AzulPay had developed trust with its AzulPay
 21   Merchant Clients, it stopped sending the settled funds to those AzulPay
 22   Merchant Clients and Defendants retained the funds for themselves.
 23          182. Defendants achieved the goal of the conspiracy of stealing
 24   Plaintiff’s funds.
 25          183. Plaintiff was damaged as a result of Defendants’ conspiratorial
 26   conduct.
 27   //
 28                            EIGHTH CLAIM FOR RELIEF
      Case No. 2:23-cv-00584                                               COMPLAINT
                                            26
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 28 of 31 Page ID #:28



  1                            (Money Had and Received)
  2                              (Against All Defendants)
  3          184. Plaintiff repeats and incorporates by reference the allegations
  4   contained in the preceding paragraphs.
  5          185. Defendants received Plaintiff’s stolen funds knowing the funds
  6   had been stolen in violation of California Penal Code §496.
  7          186. The money received by Defendants belonged to Plaintiff and was
  8   for Plaintiff’s use.
  9          187. As a result of Defendants’ conduct, Defendants are indebted to
 10   Plaintiff in the amount of $1,127,899.91.
 11                            NINTH CLAIM FOR RELIEF
 12         (False Advertising Under the Lanham Act, 15 U.S.C. §1125(a))
 13                            (Against Defendant AzulPay)
 14          188. Plaintiff repeats and incorporates by reference the allegations
 15   contained in the preceding paragraphs.
 16          189. While Plaintiff was AzulPay’s client, Plaintiff and AzulPay also
 17   competed with each other in providing credit/debit card processing solutions
 18   to merchants in high-risk industries.
 19          190. AzulPay made false statements of fact in a commercial
 20   advertisement about its credit/debit card processing services. Specifically,
 21   AzulPay stated on its AzulPay Website that it provided legitimate credit/debit
 22   card processing services for its clients.
 23          191. AzulPay’s statements on its AzulPay Website were literally false
 24   in that AzulPay did not provide legitimate credit/debit card processing
 25   services. Rather, AzulPay was part of a conspiracy to defraud AzulPay’s
 26   Merchant Clients and to steal their money.
 27          192. AzulPay’s statements on its AzulPay Website actually deceived
 28   Plaintiff and other credit/debit card service providers, including but not limited
      Case No. 2:23-cv-00584                                                   COMPLAINT
                                              27
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 29 of 31 Page ID #:29



  1   to PayAdmit.
  2          193. AzulPay’s statements on its AzulPay Website were material in
  3   that they were likely to influence merchants and merchant service providers
  4   into working with AzulPay.
  5          194. AzulPay caused its false representations to enter into interstate
  6   commerce by publishing them on the internet and then contracting with
  7   AzulPay Merchant Clients throughout the world.
  8          195. As a result of AzulPay’s false advertisements, merchants
  9   operating in high-risk industries chose to work with AzulPay rather than
 10   Plaintiff as an entity that would connect merchants to PSPs.
 11          196. As a result of AzulPay’s false representations, Plaintiff was
 12   harmed.
 13                                  PRAYER FOR RELIEF
 14          WHEREFORE, Plaintiff Pan Digital Network Limited respectfully
 15   requests that the Court enter judgment in its favor and against all Defendants
 16   and award the following relief to Plaintiff and against Defendants:
 17          1.     An award of damages to Plaintiff and against Defendant in an
 18   amount to be proved at trial, comprising the following:
 19                 a.     Compensatory damages under California law, including
 20                        California Civil Code §3281;
 21                 b.     Punitive damages pursuant to California Civil Code §3294;
 22                 c.     Restitution and/or other equitable relief, including without
 23                        limitation disgorgement of all revenues, profits, and unjust
 24                        enrichment that Defendants obtained from Plaintiff;
 25                 d.     For damages of three times the damages Plaintiff has
 26                        sustained, plus the cost of this suit, including reasonable
 27                        attorneys’ fees pursuant to 18 U.S.C. §1964(c) and (d);
 28                 e.     Plaintiff’s costs of suit;
      Case No. 2:23-cv-00584                                                 COMPLAINT
                                                 28
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 30 of 31 Page ID #:30



  1                 f.     Pre-judgment interest to the extent allowed by law; and
  2          2.     Such other and additional relief as the Court deems just and
  3                 proper.
  4
  5   Respectfully Submitted,
  6   DATED: January 25, 2023                 KRONENBERGER ROSENFELD, LLP
  7
  8                                     By:        s/ Karl S. Kronenberger
  9                                                 Karl S. Kronenberger

 10                                     Attorneys for Plaintiff Pan Digital
 11                                     Network Limited

 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
      Case No. 2:23-cv-00584                                                  COMPLAINT
                                              29
Case 2:23-cv-00584-SPG-MAA Document 1 Filed 01/25/23 Page 31 of 31 Page ID #:31



  1                              JURY TRIAL DEMANDED
  2          Plaintiff Pan Digital Network Limited Institute hereby demands a trial by
  3   jury on all issues so triable.
  4
  5   Respectfully Submitted,
  6   DATED: January 25, 2023                KRONENBERGER ROSENFELD, LLP
  7
  8                                    By:        s/ Karl S. Kronenberger
  9                                                Karl S. Kronenberger

 10                                    Attorneys for Plaintiff Pan Digital
 11                                    Network Limited

 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
      Case No. 2:23-cv-00584                                                 COMPLAINT
                                             30
